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 5                            UNITED STATES DISTRICT COURT
 6                       SOUTHERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,                 )     Case No. 15CR2932-H
                                               )
 9                              Plaintiff,     )
                                               )     ORDER DENYING DEFENDANT’S
                                               )     MOTION FOR EARLY
10                                             )
                         v.                    )     TERMINATION OF SUPERVISED
11                                             )
                                               )     RELEASE AND GRANTING
12                                             )     DEFENDANT’S SUPPLEMENTAL
     DAVID STROJ (1),                          )     MOTION TO MODIFY CONDITIONS
13                                             )
                                Defendant.     )     OF SUPERVISED RELEASE
14                                             )
                                               )     (Doc. Nos. 1137 and 1143.)
15                                             )
16
17         Pending before the Court is Defendant David Stoj’s (“Defendant”) motion for
18   early termination of supervised release. (Doc. No. 1137.) The Government opposes the
19   Defendant’s motion. (Doc. No. 1139.) The Defendant subsequently filed a supplemental
20   motion requesting the Court to modify the Defendant’s supervised release conditions
21   should the Court deny the Defendant’s motion for early termination of supervised
22   release. (Doc. No. 1143.) The Government does not oppose the Defendant’s
23   supplemental motion to modify the supervised release conditions as an alternative to
24   early termination of supervised release. (Doc. No. 1144.)
25         When deciding whether to grant a motion for early termination of supervised
26   release, a district court must apply the standards set forth in Title 18 U.S.C. § 3583(e).
27   United States v. Emmett, 749 F.3d 817, 819 (9th Cir. 2014) (“The correct legal standard
28   for deciding a motion to terminate supervised release is set forth in 18 U.S.C. § 3583(e).)

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 1   Additionally, Title 18 U.S.C. § 3583(e) requires a district court to consider the factors
 2   set forth in 18 U.S.C. § 3553(a) in deciding whether to grant or deny a motion to
 3   terminate supervised release. The Defendant argues that early termination of supervised
 4   release is warranted because he has demonstrated the ability to be a productive and law-
 5   abiding citizen and that it may not be feasible to get permission from his probation
 6   officer for emergency travel related to his employment. The Court disagrees. While the
 7   Court acknowledges the Defendant’s efforts to remain employed and law-abiding,
 8   “compliance with release conditions, resumption of employment and engagement of
 9   family life[]are expected milestones rather than a change of circumstances rendering
10   continued supervision no longer appropriate.” United States v. Bauer, No. 5:09-CR-
11   00980 EJD, 2012 WL 1259251, at *2 (N.D. Cal. Apr. 13, 2012) (Davila, J.); See also
12   United States v. Lussier, 104 F.3d 32, 36 (2d Cir. 1997) (Concluding that early
13   termination of supervised release is reserved for rare cases of a defendant’s
14   “exceptionally good behavior” while on supervision.). The Defendant speculates that
15   the supervised release conditions will in the future hinder the travel requirements of his
16   new position as a regional manager. However, such speculation does not demonstrate
17   that the supervised release conditions are an obstacle to his employment related travel.
18   See United States v. Smith, No. 2:09-CR-00218-KJD, 2015 WL 3797435, at *1 (D.
19   Nev. June 17, 2015) (Dawson, J.) (“[T]he instant motion… is filled with vague
20   assertions that Defendant's hardships [from travel restrictions] are difficult.[ ] These
21   assertions fail to satisfy Defendant’s burden.”).
22         After applying the legal standards set forth in Title 18 U.S.C. § 3583(e) and
23   considering the factors set forth in Title 18 U.S.C. § 3553(a), the Court agrees with the
24   Government and concludes that early termination of supervised release is not warranted
25   at this time. The Court further concludes that continuing the Defendant on supervised
26   release will comport with the factors set forth in Title 18 U.S.C. § 3553(a), including
27   but not limited to deterring the Defendant from future criminal conduct and protecting
28   the public from further crimes of the Defendant. Accordingly, the Court DENIES the
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 1   Defendant’s motion for early termination of supervised release. However, in lieu of
 2   early termination of supervised release, the Court GRANTS the Defendant’s unopposed
 3   supplemental motion to modify the conditions of his supervised release to allow the
 4   Defendant to travel outside the Southern District of California upon notice to his
 5   probation officer at least 24 hours prior to his travel date. 1 The notice to the probation
 6   officer is to include the Defendant’s itinerary, the purpose of the travel, and contact
 7   information. The Court reserves the right to revoke this modification should the
 8   Defendant demonstrate noncompliance with the terms and conditions of his supervised
 9   release.
10         The Clerk is directed to send a copy of this order to the United States Probation
11   Office.
12         IT IS SO ORDERED.
13         DATED: October 19, 2021            ________________________________
                                              HONORABLE MARILYN L. HUFF
14
                                              UNITED STATES DISTRICT JUDGE
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28           The Court GRANTS the Defendant’s motion to withdraw his first supplemental motion.
     (Doc. No. 1142.)
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